Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 1 of 8




                  EXHIBIT 12
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 2 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 3 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 4 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 5 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 6 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 7 of 8
Case 1:25-cv-00038-JL-TSM   Document 24-17   Filed 01/21/25   Page 8 of 8
